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April 14, 2022


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The Honorable Stephanos Bibas
United States Court of Appeals for the Third Circuit
601 Market Street
Philadelphia, PA 19106

Re:      M.P. Moon v. E. I. du Pont de Nemours and Co., Case No. 1:19-cv-1856-SB (D. Del)

Dear Judge Bibas:

        I write on behalf of Defendant E. I. du Pont de Nemours and Company (“DuPont”) in
the above-referenced matter. DuPont appreciates the opportunity to address the applicability
of CIGNA Corp. v. Amara, 563 U.S. 421 (2011) and Cunningham v. Wawa, Inc., 387
F.Supp.3d 529 (2019) to the pending motion for class certification and the parties’ respective
positions, as discussed during oral argument held earlier today.

       DuPont anticipates filing a responsive letter to the docket no later than Friday, April
22, 2022.

Respectfully,




Juliana van Hoeven

JVH/aln

cc:      Counsel of Record




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